          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 1 of 64




1    RENE L. VALLADARES
     Federal Public Defender
2    Nevada Bar No. 11479
     DAVID ANTHONY
3    Assistant Federal Public Defender
     Nevada Bar No. 7978
4    David_Anthony@fd.org
     BRAD D. LEVENSON
5    Assistant Federal Public Defender
     California Bar No. 166073
6    Brad_Levenson@fd.org
     TIMOTHY R. PAYNE
7    Assistant Federal Public Defender
     Ohio Bar No. 0069329
8    Tim_Payne@fd.org
     411 E. Bonneville, Ste. 250
9    Las Vegas, Nevada 89101
     (702) 388-6577
10   (702) 388-5819 (Fax)

11   Attorneys for Zane M. Floyd

12
                              UNITED STATES DISTRICT COURT
13                                 DISTRICT OF NEVADA

14   ZANE M. FLOYD,
                                                 Case No. ________________
15               Plaintiff,                      (to be supplied by the Clerk)

16         v.

17   CHARLES DANIELS, Director, Nevada           FLOYD’S COMPLAINT FOR
     Department of Corrections; HAROLD           INJUNCTIVE AND
18   WICKHAM, NDOC Deputy Director of            DECLARATORY RELIEF DUE TO
     Operations; WILLIAM GITTERE,                PROPOSED METHOD OF
19   Warden, Ely State Prison; WILLIAM           EXECUTION PURSUANT TO 42
     REUBART, Associate Warden at Ely State      U.S.C. § 1983
20   Prison; DAVID DRUMMOND, Associate
     Warden at Ely State Prison; IHSAN           (DEATH PENALTY CASE)
21   AZZAM, Chief Medical Officer of the State
     of Nevada; DR. MICHAEL MINEV, NDOC          EXECUTION WARRANT SOUGHT
22   Director of Medical Care, DR. DAVID         BY THE STATE FOR THE WEEK
     GREEN, NDOC Director of Mental Health       OF JUNE 7, 2021
23
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 2 of 64




1    Care, LINDA FOX, NDOC Director of
     Pharmacy; JOHN DOES I-XV, NDOC
2    execution team members,

3                Defendants.

4

5         DATED this 16th day of April, 2021.

6                                               Respectfully submitted
                                                RENE L. VALLADARES
7                                               Federal Public Defender

8
                                                /s/ David Anthony
9                                               DAVID ANTHONY
                                                Assistant Federal Public Defender
10

11                                              /s/Brad D. Levenson
                                                BRAD D. LEVENSON
12                                              Assistant Federal Public Defender

13
                                                /s/ Timothy R. Payne
14                                              TIMOTHY R. PAYNE
                                                Assistant Federal Public Defender
15

16

17

18

19

20

21

22

23
                                           2
             Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 3 of 64




1                                                 TABLE OF CONTENTS

2
     COMPLAINT ................................................................................................................. 6
3

4    I.       INTRODUCTION ............................................................................................... 6

5
     II.      PARTIES ............................................................................................................. 9
6

7    III.     JURISDICTION ................................................................................................ 11

8
     IV.      VENUE .............................................................................................................. 11
9
     V.       EXHAUSTION OF ADMINISTRATIVE REMEDIES .................................... 12
10

11   VI.      FACTS ............................................................................................................... 12

12            A.        Nevada’s September 5, 2017 execution protocol ................................... 12

13
              B.        Nevada’s November 9, 2017 execution protocol .................................... 14
14

15            C.        Nevada’s current execution protocol...................................................... 17

16                      1.        The risks created by the three drugs in Nevada’s execution
                                  protocol ......................................................................................... 18
17
                                  a.        Risks created by Nevada’s intended use of midazolam ... 18
18                                          i.        Midazolam is not a proper anesthetic. .................. 19

19
                                            ii.       Midazolam itself causes pain and suffering. ......... 22
20

21                                          iii.      Midazolam is known to cause a paradoxical
                                                      reaction that increases, instead of decreases,
22                                                    sensations of pain. .................................................. 27

23
                                                                   iii
            Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 4 of 64




1                                       iv.       The State has provided no assurances that it
                                                  will properly store and administer midazolam
2                                                 to decrease the risk it will cause
                                                  unconstitutional pain and suffering. ..................... 28
3
                              b.        Risks created by Nevada’s intended use of fentanyl ....... 31
4

5                             c.        Risks created by Nevada’s intended use of
                                        cisatracurium .................................................................... 32
6
                    2.        Risks presented by inadequate provisions for staff training ..... 34
7
                    3.        Failure to provide right of access to counsel and to the courts.. 38
8
     VII.   CLAIMS FOR RELIEF ..................................................................................... 39
9
            Count I: Proceeding with Floyd’s execution under the current protocol
10                violates his Eighth and Fourteenth Amendment rights to be free
                  from cruel and unusual punishment. .................................................... 39
11

12          A.      Nevada’s execution protocol presents a substantial risk of serious
                    harm. ....................................................................................................... 39
13
                    1.        The three drugs in Nevada’s execution protocol create an
14                            unconstitutional risk of pain and suffering. ............................... 40

                              a.        Midazolam, the first drug, does not function as
15
                                        needed, causes pain and suffering, and has been
                                        linked to numerous botched executions. .......................... 40
16

17                            b.        Fentanyl, the second drug, cannot be relied on to
                                        induce unawareness.......................................................... 40
18

19                            c.        Cisatracurium, the third drug, is a paralytic that
                                        could cause Floyd to be paralyzed and awake while
20                                      dying of suffocation. .......................................................... 41

21                  2.        The lack of necessary safeguards in Nevada’s protocol
                              increases the substantial risk of harm. ...................................... 42
22
                              a.        Nevada’s execution protocol does not provide for
23                                      adequate training of members of the execution team. .... 43
                                                                iv
            Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 5 of 64




1                               b.        Nevada’s execution protocol fails to provide adequate
                                          access to counsel and the courts on the day of an
2                                         execution............................................................................ 46

3            B.       There are feasible, readily implemented alternative methods
                      available that would significantly reduce the substantial risk of
4                     severe pain. ............................................................................................. 47

5                     1.        Execution by firing squad............................................................ 48

                                a.        Execution by firing squad is a feasible alternative. ........ 48
6

7                               b.        Execution by firing squad significantly reduces the
                                          substantial risk of pain inherent in Nevada’s current
8                                         protocol. ............................................................................. 48
9                     2.        Lethal injection by two-drug protocol ......................................... 50

10                              a.        The two-drug alternative is feasible. ............................... 51

11
                                b.        The two-drug alternative significantly reduces the
12                                        substantial risk of pain inherent in Nevada’s current
                                          protocol. ............................................................................. 52
13
             Count II: Proceeding with Floyd’s execution under the current protocol
14                 violates his Eighth and Fourteenth Amendment rights to medical
                   care and to be free from serious harm. .................................................. 53
15
             Count III: Proceeding with Floyd’s execution under the current protocol
16
                   violates his Fifth and Fourteenth Amendment rights to due
                   process..................................................................................................... 55
17

18           Count IV: Proceeding with Floyd’s execution under the current protocol
                   violates his First, Sixth, and Fourteenth Amendment rights of
19                 access to courts, counsel, and to meaningful litigate claims. ............... 56
20   VIII. PRAYER FOR RELIEF .................................................................................... 61
     DECLARATION UNDER PENALTY OF PERJURY ................................................ 63
21   CERTIFICATE OF SERVICE ..................................................................................... 64

22

23
                                                                  v
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 6 of 64




1                                        COMPLAINT

2          1.     Plaintiff Zane Floyd, through his counsel, seeks both preliminary and

3    permanent relief, requesting this Court declare and enforce his rights under the

4    United States Constitution and issue an injunction under 42 U.S.C. § 1983 and the

5    Eighth Amendment commanding defendants not to carry out any lethal injection of

6    Floyd. Nevada’s execution protocol and procedures pose an unnecessary risk of

7    causing substantial pain and suffering in violation of his right to be free from the

8    infliction of cruel and unusual punishment.

9    I.    INTRODUCTION

10         2.     The State of Nevada, through an April 14, 2021 state court application

11   for an Order of Execution filed by the Office of the Clark County District Attorney,

12   seeks to execute Plaintiff during the week commencing on the 7th day of June, 2021.

13   The State intends to execute Floyd using a novel, experimental lethal injection

14   procedure. The State’s execution protocol sets forth a three-drug procedure using

15   midazolam, fentanyl, and cisatracurium, with the drugs to be sequentially injected

16   intravenously into Floyd’s body. No state, including Nevada, has ever used this

17   combination of drugs in an execution.

18         3.     The uniqueness of Nevada’s protocol stems largely from the first ever

19   intended use of a paralytic agent, cisatracurium, as the final drug administered,

20   i.e., the killing agent. Expert evidence establishes that cisatracurium presents a

21   wholly unnecessary, substantial risk of serious harm to the condemned inmate. If

22   the inmate has not achieved the requisite depth of anesthesia, the cisatracurium,

23   which freezes the body’s muscles including the diaphragm, will cause the inmate to

                                                6
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 7 of 64




1    suffer a torturous death by suffocation. Indeed, the only court to address the

2    lawfulness of Nevada’s proposed use of cisatracurium as the killing agent found it

3    presented an unconstitutional “substantial risk of serious harm” and “an objectively

4    intolerable risk of harm” under the Eighth Amendment.

5          4.     The harmfulness inherent in using a paralytic drug as a killing agent

6    is amplified in Nevada’s protocol, as the other two drugs cannot reliably produce the

7    depth of anesthesia necessary to avoid awareness during the torturous suffocation

8    caused by cisatracurium. The protocol problematically specifies midazolam as the

9    initial drug to be administered. Traditionally, three-drug protocols have used a

10   barbiturate, such as sodium thiopental or pentobarbital, as the first drug. The

11   purpose of using a barbiturate is to induce general anesthesia and render the

12   subject unconscious and insensate to pain. Midazolam, however, is a short-acting

13   benzodiazepine. It is not an analgesic drug and is pharmacologically incapable of

14   inducing general anesthesia. Moreover, midazolam is linked to numerous botched

15   executions. In neighboring Arizona for instance, problems incurred with the use of

16   midazolam—most notably during the execution of inmate Joseph Wood (who

17   snorted, gasped and choked for nearly two hours and was injected fifteen times

18   before he died) caused the State of Arizona to forever ban its use in executions.

19         5.     Nevada’s use of fentanyl, an opioid, as the second drug in its lethal

20   injection procedure contributes to the substantial risk of harm presented by

21   Nevada’s experimental protocol. Fentanyl has been used only once in an execution

22   in the United States, as part of a four-drug protocol. It has never been used in a

23
                                               7
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 8 of 64




1    three-drug protocol, and its efficacy for use in the manner intended under Nevada’s

2    protocol is essentially unknown. Importantly, because Nevada’s first drug,

3    midazolam, is inadequate for the intended purpose, it is imperative that the second

4    drug reliably induce the requisite depth of anesthesia and render the inmate

5    completely unconscious, unaware, and insensate to pain. Fentanyl, however, is

6    demonstrated to be unreliable, even in high doses, for inducing unawareness. Its

7    experimental use in Nevada’s protocol creates an undue and substantial risk that

8    Floyd will be aware, will experience “air hunger,” and will suffer a horrific death

9    when the third drug, cisatracurium, is introduced into his body. The protocol

10   presents an unnecessary risk of serious harm and an objectively intolerable risk of

11   harm in violation of the Eighth Amendment.

12         6.     Finally, the constitutional problems in Nevada’s protocol are further

13   multiplied by its missing components—there are no requirements that members of

14   the execution team are properly trained and no assurances that the condemned

15   inmate will be able to reach his attorneys or the courts leading up to the execution.

16   This concern is heightened by the State’s timing of its execution warrant, in the

17   midst of a pandemic, while prisons are closed to attorneys.

18         7.     In sum, Nevada seeks to execute Floyd using a novel protocol,

19   unnecessarily risking that Floyd is suffocated to death while fully conscious and

20   aware, and at the same time restrict Floyd’s access to counsel and the courts.

21   Allowing the State to proceed with its execution of Floyd would subject him to cruel

22   and unusual punishment, in violation of the Eighth Amendment.

23
                                               8
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 9 of 64




1    II.   PARTIES

2          8.     Zane Floyd is a state death row inmate at Ely State Prison in Ely,

3    Nevada. Floyd brings this Complaint pursuing legal, administrative, and any other

4    appropriate remedies to ensure the protection of his physical person and his

5    constitutional rights while under the custody of the State of Nevada, pursuant to 42

6    U.S.C. § 1983, and the First, Sixth, Eighth and Fourteenth Amendments to the

7    United States Constitution, seeking declaratory and injunctive relief.

8          9.     Defendant Charles Daniels is the current Director of the Nevada

9    Department of Corrections (NDOC). Daniels is responsible for managing the

10   operations of Nevada’s state prison facilities and the custody of the inmates

11   confined therein, including Ely State Prison (ESP). Daniels is ultimately

12   responsible for the overall operations and policies of NDOC, including overseeing

13   executions pursuant to appropriately authorized state court issued warrants of

14   execution, and ensuring those executions are carried out in conformity with the

15   Constitution of the United States. Daniels and all other individuals identified as

16   defendants in this Complaint are sued in their official capacities.

17         10.    Defendant Harold Wickham is the Deputy Director of Operations at

18   NDOC. Wickham is responsible for overseeing the daily operations of NDOC

19   facilities, including ESP.

20         11.    Defendant William Gittere is the Warden at ESP, and as with the

21   agents and employees at ESP that are under his supervision and control,

22   establishes and implements practices and policies of the prison relating to security,

23   as well as the custody and care of ESP inmates, inclusive of practices and policies
                                               9
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 10 of 64




1    for preparing, training staff for, supervising and conducting executions. Gittere is

2    responsible for ensuring that ESP carries out executions in conformity with the

3    Constitution of the United States.

4          12.     Defendants William Reubart and David Drummond are both Associate

5    Wardens at ESP. Reubart and Drummond share, along with Warden Gittere, in the

6    responsibilities for day-to-day operations of ESP and, in conjunction with the agents

7    and employees at ESP that are under their supervision and control, share in

8    responsibilities for establishing and implementing practices and policies of the

9    prison relating to security at ESP, as well as the custody and care of ESP inmates,

10   inclusive of practices and policies for preparing, training staff for, supervising and

11   conducting executions.

12         13.     Defendant Dr. Ihsan Azzam is the Chief Medical Officer of the State of

13   Nevada. Dr. Azzam is responsible for enforcing all public health laws and

14   regulations in the State. He also has the responsibility of providing consultation to

15   the NDOC Director regarding the selection of the drug or combination of drugs to be

16   used in executions.

17         14.    Defendant Dr. Michael Minev is the Director of Medical Care for

18   NDOC and is responsible for the overall delivery of medical services to the inmates

19   in the custody of NDOC. Dr. Minev’s responsibilities include oversight of NDOC’s

20   Central Pharmacy, which is responsible for dispensing medications to NDOC’s

21   inmate population.

22         15.    Defendant Dr. David Green is the Director of Mental Health for NDOC

23
                                               10
            Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 11 of 64




1    and is responsible for the overall delivery of mental health services to the inmates

2    in the custody of NDOC.

3            16.   Defendant Linda Fox is the Pharmacy Director of NDOC and

4    responsible for the operations of NDOC’s Central Pharmacy and the overall delivery

5    of pharmaceutical services to NDOC’s inmate population.

6            17.   Defendants John Does I through XV are unnamed and anonymous

7    execution team members, employed by or acting under contract with, NDOC to

8    consult with, prepare for, participate in, and/or carry out the execution of Floyd.

9    Floyd does not know, and the NDOC Defendants have not revealed, the identities of

10   these defendants.

11   III.    JURISDICTION

12           18.   Jurisdiction is conferred by 28 U.S.C. §1331 and §1343, which provide

13   for original jurisdiction of this Court in suits based respectively on federal questions

14   and authorized by 42 U.S.C. § 1983, which provides a cause of action for the

15   protection of rights, privileges, or immunities secured by the Constitution of the

16   United States. Jurisdiction is further conferred by 28 U.S.C. §2201 and §2202,

17   which authorize actions for declaratory and injunctive relief.

18   IV.     VENUE

19           19.   Venue is proper in the District of Nevada under 18 U.S.C.

20   §1391(b)(1)–(3) because the defendants reside in the territorial jurisdiction of this

21   district, and because a “substantial part of the events or omissions giving rise to the

22   claim[s] occurred,” and are continuing to occur, in this district, at ESP in Ely,

23   Nevada.

                                               11
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 12 of 64




1    V.       EXHAUSTION OF ADMINISTRATIVE REMEDIES

2             20.   Exhaustion of administrative remedies is not necessary because this

3    action does not challenge prison conditions and because there are no available

4    administrative remedies capable of addressing the violations of federal law

5    challenged in this pleading. Moreover, because the defendants, particularly Daniels

6    and Gittere, have the discretion to change the Execution Protocol at any time—even

7    after providing notice as to certain aspects—any attempt to grieve would be futile.

8    VI.      FACTS

              A.    Nevada’s September 5, 2017 execution protocol
9
              21.   In July 2017, the Clark County District Attorney’s Office sought and
10
     obtained an execution warrant from the state district court for the Eighth Judicial
11
     District Court of Nevada, scheduling the execution of death row inmate Scott
12
     Dozier. At that time, Nevada’s execution protocol was unknown. Counsel from the
13
     District Attorney’s Office were unable to provide the court with any information
14
     about how, and with what drugs, NDOC intended to carry out Dozier’s execution.
15
     Instead, counsel simply pointed to a radio program, where an NDOC official said
16
     that, if an execution warrant was signed, they would be able to obtain the needed
17
     drugs.
18
              22.   Over a month later, pursuant to litigation in Dozier’s state post-
19
     conviction case regarding the constitutionality of his planned execution, the State
20
     produced a new execution protocol, dated September 5, 2017. The new protocol
21
     provided for a novel three-drug lethal injection procedure utilizing the drugs
22

23
                                                12
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 13 of 64




1    diazepam (a benzodiazepine), fentanyl (an opioid), and cisatracurium (a paralytic). 1

2          23.    Counsel on behalf of Dozier thereafter retained and consulted with an

3    expert in anesthesiology, Dr. David Waisel, regarding Nevada’s new protocol. 2 Dr.

4    Waisel was highly critical of the State’s protocol and provided a signed declaration,

5    dated October 4, 2017, to that effect. 3 He opined that the protocol constituted a "sea

6    change" from every other protocol of which he was aware, because the paralytic

7    drug was designed to be the agent of death. 4 Specifically, the third drug, the

8    paralytic cisatracurium, kills by preventing an inmate’s ability to breathe, not

9    through drugs that anesthetize (thereby ensuring an unconscious person during the

10   process), but through drugs that paralyze muscles.

11         24.    Premised upon the expert’s opinions, counsel for Dozier argued that

12   the protocol and drugs chosen created a substantial risk of causing cruel pain and

13   suffering because its use creates a substantial risk of the condemned inmate being

14

15         1 The three-drug protocol, the nation's first using fentanyl and first to use a
     paralytic agent as the final, killing drug, was devised by Nevada's former Chief
16   Medical Officer, John DiMuro, D.O. DiMuro later interviewed with the Washington
     Post after he resigned from his position, and told the paper that he settled on the
17   protocol in a matter of minutes. The December 11, 2017 article quoted him as
     saying, "I honestly could have done it in one minute. It was a very simple,
18   straightforward process.” See Ex. 1.
           2 Dr. Waisel is board certified with the American Board of Anesthesiology,

19   and practices anesthesia at Boston Children's Hospital. Ex. 2 at 7–8. He is also an
     Associate Professor of Anesthesia at Harvard Medical School. Ex. 3 at 1. Dr. Waisel
20   has practiced anesthesiology for twenty-five years, consulted on lethal injection
     protocols, testified approximately ten times in court, and authored almost fifty peer
21   reviewed publications on anesthesiology. Id. He is familiar with the three drugs
     used in NDOC's 2017 execution protocol, diazepam, fentanyl, and cisatracurium,
22   having used them in his clinical practice. See Ex. 2 at 11–13.
           3 Ex. 3 at 1 (declaration of Dr. David B. Waisel, October 4, 2017).

23         4 Id. at 3.


                                               13
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 14 of 64




1    paralyzed and awake while dying of suffocation. 5 “The horror of being awake and

2    unable to move is beyond description,” Dr. Waisel observed, citing a known example

3    of a patient undergoing surgery who was aware and paralyzed, and reported she

4    “desperately wanted to scream or even move a finger to signal to the doctors that

5    she was awake.” 6 Nevada’s execution protocol, in his opinion, was “practically

6    designed to ensure substantial harm of 1) air hunger following the injections of

7    diazepam and fentanyl and 2) awareness while being paralyzed after the

8    cisatracurium injection.” 7

9          25.      The expert’s opinions also included a concern that the dosage amounts

10   allocated for the first two drugs (diazepam and fentanyl) were markedly low. 8 In his

11   declaration, Dr. Waisel made specific recommendations to significantly increase the

12   dosages of the first two drugs. 9

13         B.       Nevada’s November 9, 2017 execution protocol

14         26.      After receiving the opinions from Dozier’s expert anesthesiologist, the

15   State amended its execution protocol. Although the revised protocol was not

16   officially signed and made effective until November 9, 2017, the State informed the

17   state district court in the latter part of October 2017 that they were making

18

19

20         5   See Ex. 2 at 44 (State v. Dozier, District Court of Clark County, Nevada,
     Case No. C215039, Recorder’s Transcript of Evidentiary Hearing of Chief Medical,
21   Nov. 3, 2017).
           6 Ex. 3 at 4.

22         7 Id.
           8 Id.

23         9 Id.


                                                14
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 15 of 64




1    changes, including: (1) increasing the loading (starting) dosages for the drugs 10,

2    clarifying that those loading amounts were never meant to be a cap; (2) instructing

3    that the drugs be “titrated to effect”; (3) conducting “consciousness assessments”; to

4    determine how the condemned inmate is responding to the drugs, and if he is still

5    conscious, then gradually increasing the dosages, and repeating the process, until

6    the inmate no longer provides responses to stimuli and (4) following the

7    administration of fentanyl with use of a tactile stimulus, “some sort of pinch I

8    imagine,” before the execution team would move on to the paralytic drug. 11

9           27.    Although the State decided that these changes were appropriate, the

10   State was unwilling to agree to other changes recommended by Dozier’s expert and

11   continued to insist on using a three-drug protocol that employed a paralytic agent

12   as the third and final (lethal) drug. 12

13          28.    The state district court held an evidentiary hearing concerning the

14   revised protocol on November 3, 2017, where Dr. Waisel testified. (The State

15   presented no expert testimony).

16          29.    Dr. Waisel testified that the proper administration of 100 mg of

17   Diazepam followed by 7,500 mcg of Fentanyl would be sufficient, with a high degree

18   of certainty, to kill the condemned inmate by stopping his breathing. 13 He estimated

19   that the time from administration of the drugs to death would be approximately ten

20

21          10As it turned out, the dosages were increased dramatically in the revised
     protocol, consistent with Waisel’s recommendations,
22         11 Ex. 4 at 5.
           12 See generally id.

23         13 Ex. 2 at 21.


                                                15
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 16 of 64




1    minutes. 14

2          30.       The expert further testified that the paralytic drug contained in the

3    protocol was unnecessary to effectuate death because, if the dosages of the first two

4    drugs at the levels he recommended were properly administered, the inmate would

5    have already stopped breathing by the time the third drug was administered. 15 On

6    the other hand, if the first two drugs were not properly administered, there is a

7    substantial risk that the use of the paralytic drug will cause cruel pain and

8    suffering, as the condemned inmate would still be sentient when the paralytic was

9    administered. 16

10         31.       Following the evidentiary hearing, the district court granted an

11   injunction and ordered a stay of the impending execution. 17 The court found that

12   the State’s proposed use of a paralytic drug in the execution presented an

13   unconstitutional substantial risk of harm and an objectively intolerable risk of

14   harm in violation of the Eighth Amendment. 18

15         32.      The State challenged the district court’s ruling by petitioning for writ

16   of mandamus in the Nevada Supreme Court. The Nevada Supreme Court

17   eventually reversed the district court, but only on procedural grounds, holding that

18   the lower court abused its discretion in considering the matter because there is no

19   mechanism in post-conviction proceedings for bringing a lethal injection challenge.

20

21         14 Id. at 22.
           15 Id.
22         16 Id.
           17   Ex. 7.
23         18   Id.
                                                 16
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 17 of 64




1    Nevada Department of Corrections v. Eighth Judicial Dist. Court, Nos. 74679,

2    74722, 2018 WL 2272873, *2 (Nev. May 10, 2018) (unpublished order).

3           C.       Nevada’s current execution protocol

4           33.      While the State’s petition for writ of mandamus was pending before

5    the Nevada Supreme Court, the State altered its execution protocol. Because it had

6    run out of its supply of diazepam, the State substituted the drug midazolam (like

7    diazepam, a benzodiazepine) as the first drug in the protocol. The new protocol

8    continues to utilize fentanyl as the second drug, and cisatracurium as the third and

9    final killing drug. In June 2018, NDOC officially signed and adopted the new

10   execution protocol, which represents the State’s current protocol as of the date of

11   the filing of this Complaint. 19

12          34.      Nevada’s current execution protocol presents essentially the same

13   problems as presented by the November 9, 2017 protocol. The current protocol

14   provides for the following procedure:

15          35.      Step One: Drug administrators are to inject the condemned inmate

16   with 500 milligrams (10 syringes) of midazolam; executioners then wait 2 minutes;

17   personnel then perform a verbal stimulus check (i.e. move fingers, thumbs up, open

18   eyes) and a painful stimulus check in the form of a “medical grade pinch”; if no

19   response from the inmate is perceived, the executioners proceed to Step Two.

20          36.      If the condemned inmate responds to the verbal or physical stimulus

21   checks, drug administrators are to inject an additional 500 milligrams of midazolam

22

23          19   Ex. 5 (Nevada Department of Corrections Execution Manual (2018)).
                                                17
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 18 of 64




1    into the body of the inmate.

2          37.     Step Two: Drug administrators are to inject the inmate with 5,000

3    micrograms (10 syringes) of fentanyl; executioners then wait 90 seconds; personnel

4    then perform a physical stimulus check in the form of a “medical grade pinch”; if no

5    response from the inmate is perceived, the executioners proceed to Step Three.

6          38.     If the inmate responds to the physical stimulus check, drug

7    administrators inject an additional 2,500 micrograms of fentanyl into the body of

8    the inmate.

9          39.     Step Three: Drug administrators are to inject the condemned inmate

10   with 100 milligrams (5 syringes) of cisatracurium; executioners then wait 5

11   minutes; drug administrators then inject the inmate with an additional 100

12   milligrams (5 syringes) of cisatracurium; personnel then turn on the cardiac

13   monitor, and the attending physician or other medical personnel observe until the

14   monitor until there is no longer any electrical activity, i.e., the heart has stopped.

15         40.     The Coroner is then called into the death chamber and pronounces the

16   inmate deceased and pronounces the time of death.

17                     1. The risks created by the three drugs in Nevada’s execution
                          protocol
18
           41.     Each of the three drugs in Nevada’s protocol carry risks of pain and
19
     suffering.
20                          a.   Risks created by Nevada’s intended use of midazolam
21         42.     The intended purpose of midazolam, the first drug in Nevada’s three-

22   drug protocol, is to anesthetize the prisoner, rendering him or her unconscious and

23
                                                18
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 19 of 64




1    insensate to pain and suffering throughout the execution procedure. Midazolam,

2    however, is physically and pharmacologically incapable of inducing general

3    anesthesia, regardless of how large the dose of the drug administered. 20

4                                       i.    Midazolam is not a proper anesthetic.

5          43.       Under traditional three-drug execution protocols, the initial drug

6    delivered is a barbiturate, such as sodium thiopental or pentobarbital, for the

7    purpose of inducing general anesthesia and rendering the subject unconscious and

8    insensate to pain. Unlike sodium thiopental and pentobarbital, midazolam is not a

9    barbiturate. Rather, midazolam is a benzodiazepine. 21 Benzodiazepines are a class

10   of drugs used primarily for treating anxiety. Midazolam is a central nervous system

11   depressant that produces sedative, hypnotic, muscle relaxant, anxiety inhibitory,

12   and anticonvulsant effects. It is capable of inducing sedation and amnesia, but it

13

14         20  Ex. 11 at 11, 29 (Declaration of Dr. David J. Greenblatt, Mar. 5, 2021); Ex.
     12 at 9, 23 (Declaration of Dr. Craig W. Stevens, Jan. 14, 2021).
15
            David J. Greenblatt, M.D., is a professor of anesthesiology at Tufts
16   University School of Medicine and a Board-certified clinical pharmacologist. In
     addition to his training and work experience, Dr. Greenblatt is arguably the
17   preeminent scholar on the pharmacological effects of benzodiazepines, including
     midazolam. He co-authored C.A. Naranjo et al., A method for estimating the
18   probability of adverse drug reactions, Clinical Pharmacology and Therapeutics
     30:239–45 (1981), which has been cited in more than 8000 subsequent scholarly
19   works. See In re Ohio Execution Protocol Litigation, 2:11cv1016, 2019 WL 244488
     at *27 (S.D. Ohio, January 14, 2019); see also Google Scholar, David J. Greenblatt,
20   https://scholar.google.com/citations?user=IBsLHTcAAAAJ&hl=en&oi=sra.

21        Craig Stevens, PhD., is a Professor of Pharmacology at the Oklahoma State
     University, College of Osteopathic Medicine, and a recognized expert in the field of
22   pharmacology.

23         21   Ex. 11 at 10; Ex. 12 at 23.
                                                19
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 20 of 64




1    cannot protect against sensations of pain. It has no pain-relieving properties

2    (studies have shown that midazolam actually increases the perception of pain). And

3    it cannot produce the level of unconsciousness, unawareness, and lack of sensation

4    necessary to not feel the severe pain from paralysis of the lungs—i.e., the lack of

5    consciousness, awareness and sensation associated with the state of general

6    anesthesia in a medical context.

7          44.     Midazolam is typically administered prior to the administration of an

8    anesthetic. 22 Midazolam itself is not used, nor is it FDA-approved for use, as a

9    standalone anesthetic.

10         45.     An individual can still consciously experience one’s surroundings and

11   feel severe pain and horrific stimuli, such as that associated with the third drug,

12   cisatracurium, while under sedation using midazolam. 23

13         46.     Midazolam has a “ceiling effect” (estimated at 25 to 40 milligrams)

14   which limits the effect of large doses and prevents it from reliably causing a person

15   to become unconscious, unaware, and insensate during the administration of

16   severely painful stimuli. 24 Midazolam binds with a neurotransmitter known as

17   “GABA” to produce sedation. 25 Because GABA is present in the brain in limited

18   quantities, midazolam’s sedative properties are limited, thereby producing ceiling

19   effect phenomenon. 26 Consequently, any dose of midazolam more than 25 to 40

20

21         22 Ex. 12 at 9.
           23 Ex. 11 at 13–15, 28; Ex. 12 at 9–11.
22         24 Ex. 12 at 5–9.
           25 Ex. 11 at 11; Ex. 12 at 6–10.

23         26 Ex. 11 at 18–20; Ex. 12 at 8–9.


                                               20
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 21 of 64




1    milligrams will have no effect and serves no purpose. 27 The administration of 500

2    milligrams of midazolam (as required by the Execution Protocol) may sedate Floyd,

3    but it will not produce general anesthesia and will not render Floyd insensate to

4    pain and suffering. 28

5           47.   The crucial fault of midazolam is that it is a sedative-hypnotic, a drug

6    designed to put someone to sleep. Thus, an inmate given midazolam would fall

7    asleep and appear unconscious, but once pain or suffering is introduced, the body

8    would overcome the inhibitory effect of midazolam and rouse the inmate, who would

9    then awaken to extreme pain and suffering. See Irick v. Tennessee, 139 S. Ct. 1, 2

10   (2018) (Sotomayor, J., dissenting from denial of application for stay) (noting

11   midazolam will not prevent prisoner from “experienc[ing] sensations of drowning,

12   suffocating, and being burned alive from the inside out”)); accord Zagorski v.

13   Parker, 139 S. Ct. 11 (2018). (Sotomayor, J., dissenting from denial of application

14   for stay).

15          48.   The State’s use of midazolam in their execution protocol creates a

16   substantial risk that Floyd will suffer “air hunger” and feel the effects of

17   suffocation. 29 Air hunger is the inability to satisfy the physiologic and psychologic

18   urge to breath Air hunger is a terrifying, horrifying, and painful experience. See,

19   e.g., In re Ohio Execution Protocol Litigation, 994 F. Supp. 2d 906, 912 (S.D. Ohio

20   2014). Midazolam will not prevent Floyd from being conscious, or feeling and being

21

22          27 Ex. 12 at 9.
            28 Ex. 11 at 15, 29; Ex. 12 at 12.
23          29 Ex. 11 at 15, 23.


                                                 21
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 22 of 64




1    aware of the severe pain, horrific sensation and agony of air hunger, or the effects of

2    dying from IV injection of the third drug in Nevada’s three-drug execution protocol.

3                                    ii.    Midazolam itself causes pain and suffering.

4          49.      In addition, there is substantial evidence that midazolam causes

5    “flash” or acute pulmonary edema. 30 Flash or acute pulmonary edema results from

6    direct toxic/caustic damage to the small blood vessels in the lungs (alveolar

7    capillaries), which causes immediate leakage of fluid through the damaged

8    capillaries into the lungs. 31 This is because of midazolam’s acidity, which is

9    significantly lower than normal blood pH. As a result of that low pH, a large dose of

10   midazolam, injected in the bloodstream—like the 500 milligram dose provided in

11   the execution protocol—is very likely to cause pulmonary edema. 32

12         50.      Flash pulmonary edema produces foam or froth in the airways of the

13   lung (bronchi and trachea) resulting from the mixture of air, edema fluid, and

14   pulmonary surfactant (a detergent-like secretion normally present in the airspaces).

15   As a result, flash pulmonary edema causes obstruction or partial obstruction of the

16   upper airway, thus greatly increasing the work of breathing, such that the chest

17   muscles and diaphragm strain as they expend greater effort to try to move air into

18   the lungs. Acute pulmonary edema produces “feelings such as an inability to get

19   enough oxygen, suffocation, gasping and fighting desperately for breath.” 33 The

20
           30   Id. at 21–25, 29.
21         31   Id. at 22. “Flash” or non-cardiogenic pulmonary edema is distinguished
     from cardiogenic pulmonary edema which occurs more gradually when fluid backs
22   up in the lungs as a result of heart failure.
            32 Id. at 23–25.

23          33 Id. at 23.


                                               22
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 23 of 64




1    feeling can be “terrifying,” as “the person suffering it … fight[s] ever harder to take

2    in oxygen as the lungs fill with fluid.” 34

3           51.      Thus, pulmonary edema prior to the loss of consciousness produces

4    excruciating feelings and sensations similar to drowning and asphyxiation as fluid

5    occupies a greater volume of the air spaces in the lungs. The experience of

6    pulmonary edema in a prisoner who is still sensate will cause the prisoner “to

7    endure great suffering as he will struggle to breathe with damaged lungs that

8    cannot exchange air.” 35 For an inmate restrained in a prone position, like Floyd

9    would be, those feelings would be heightened.

10          52.      Autopsies performed on prisoners who were executed with midazolam

11   confirm that acute pulmonary edema occurs in virtually every instance, revealing

12   signs of heavy, congested lungs and bloody froth in the lungs and upper airways.

13   Witness reports of midazolam executions support the autopsy findings,

14   demonstrating that prisoners who were executed with midazolam were sensate and

15   continued to breathe after the onset of the pulmonary edema, experiencing burning

16   sensations, labored breathing, gasping, and other signs of severe pain and

17   respiratory distress.

18          53.       Flash pulmonary edema will occur immediately upon administration

19   of a large dose of midazolam. “The damage from a volume of acid like that involved

20   in Nevada’s execution protocol will be immediate, as it will start to happen on the

21

22
            34   Id.
23          35   Id. at 29.
                                                   23
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 24 of 64




1    very first circulation.” 36 It is Dr. Greenblatt’s expert opinion that injecting large

2    doses of midazolam in IV injection solution will cause severe burning sensations in

3    the blood vessels due to the acidic nature of the midazolam in that form.” 37

4           54.    Because midazolam is not an analgesic drug and will not render the

5    condemned inmate unconscious and insensate to pain and suffering, the inmate is

6    sure or very likely to experience the severe pain and suffering associated with the

7    drugs in the Nevada execution protocol, including sensations of drowning and

8    suffocation. 38

9           55.    In recent lethal injection litigation, following an evidentiary hearing at

10   which several lay witnesses and eight expert witnesses testified, the Southern

11   District of Ohio found the use of midazolam in Ohio’s three-drug execution

12   procedure (with the same dosage as used in the State’s protocol) was likely to cause

13   unconstitutional pain and suffering. In re Ohio Execution Protocol Litigation, No.

14   2:11-cv-1016, 2019 WL 244488 at *63 (S.D. Ohio Jan. 14, 2019).       39   Based on

15

16          36 Id. at 23.
            37 Id. at 29.
17          38 Id. at 11, 15, 28.
            39 The decision addressed death row inmate Warren Henness’s motion for
18   preliminary injunction. The court, applying Glossip’s two-pronged test, ultimately
     denied the motion. The court determined Henness had satisfied Glossip’s first prong
19   by demonstrating Ohio’s three-drug procedure “present[ed] a risk that is sure or
     very likely to cause serious pain and needless suffering,” but the court concluded
20   Henness had failed to satisfy Glossip’s second prong because he had not shown an
     alternative method of execution was available, feasible, and capable of being readily
21   implemented. See In re Ohio Execution Protocol Litigation, supra, 2019 WL 244488
     at *10, *70. The Sixth Circuit agreed with respect to the second prong, In re Ohio
22   Execution Protocol Litigation, 946 F.3d 287 (6th Cir. 2019), but disagreed with the
     district court that Henness had satisfied Glossip’s first prong, id. at 290. In doing
23
                                                 24
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 25 of 64




1    testimony from “experts who were not just qualified, but in many cases preeminent

2    in their fields of specialization,” the court first found that midazolam is not an

3    analgesic drug. Id. at *62, *64. On this basis the court determined midazolam is

4    incapable of preventing the physical pain known to be caused by injection of the

5    second and third drugs (a paralytic followed by potassium chloride) under Ohio’s

6    execution protocol. In re Ohio Execution Protocol Litigation. 2019 WL 244488 at

7    *62–63.

8          56.    The court next found that Ohio’s use of a 500-milligram dose of

9    midazolam as the initiatory drug was “certainly or very likely to cause pulmonary

10   edema, which is both physically and emotionally painful to a severe level.” Id. The

11   district court found credible the testimony of expert Dr. Mark Edgar, who had

12   reviewed twenty-eight autopsies of inmates executed with a drug protocol that

13   included midazolam. His review confirmed the presence of pulmonary edema in 24

14   of the 28 of the inmates executed. Id. at *59. The court observed that 28 autopsy

15   reports appeared to represent the entire number of such reports available for review

16   and noted that when “more than eighty-five percent of the entire possible sample

17   has a confirmed diagnosis, it is good science to infer that midazolam caused it, since

18   they all were executed with midazolam.” Id. at *63.

19

20
     so, however, the panel did not invalidate the district court’s specific findings of fact
21   regarding the risk of pain and suffering presented by Ohio’s use of midazolam in its
     procedure; rather, the panel reasoned that the constitutional standard required the
22   pain caused by the method of execution be akin to the pain resulting from methods
     such as “breaking on the wheel, flaying alive, [and] rending asunder with horses,”
23   which Henness had not shown. Id.
                                                25
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 26 of 64




1           57.        The court further found that the occurrence of pulmonary edema was

2    itself painful:

3                      [P]ulmonary edema itself certainly or very likely causes
                       severe pain and needless suffering. In all the hearings in
                       this case, the Court has heard lay descriptions of labored
4                      breathing of various sorts by condemned inmates after
                       injection of midazolam, commonly referred to as air
5                      hunger. Dr. Edgar has now provided a medical
                       explanation of air hunger: it comes from pulmonary
6                      edema, which means the airways in the lungs are filling
                       up with fluid instead of air.
7    Id. The court described the pain vividly: “All medical witnesses to describe
8    pulmonary edema agreed it was painful, both physically and emotionally, inducing
9    a sense of drowning and the attendant panic and terror, much as would occur with
10   the torture tactic known as waterboarding.” Id.
11          58.        Since those 2019 findings, additional evidence has surfaced
12   demonstrating that midazolam causes pulmonary edema. An investigation by
13   National Public Radio expanded upon the evidence of pulmonary edema in executed
14   inmates significantly. A review of more than 200 autopsies—obtained through
15   public records requests—showed signs of pulmonary edema in 84% of the cases,
16   closely matching the findings in the Ohio litigation. 40 The findings were similar
17   across death penalty states. 41
18          59.        Accordingly, midazolam not only will fail to protect Floyd from
19   experiencing the excruciating pain and needless suffering caused by the third drug
20

21
             NPR Investigations, Gasping for Air: Autopsies Reveal Troubling Effects of
            40

22   Lethal Injection, https://www.npr.org/2020/09/21/793177589/gasping-for-air-
     autopsies-reveal-troubling-effects-of-lethal-injection.
23          41   Id.
                                                   26
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 27 of 64




1    in Nevada’s protocol, but it also will independently and separately cause Floyd to

2    experience severe pain and suffering, by triggering the agonizing effects of flash

3    pulmonary edema. The protocol thus creates a substantial, foreseeable, and

4    avoidable risk that prisoners will suffer significant pain and suffering.

5                                   iii.    Midazolam is known to cause a paradoxical
                                            reaction that increases, instead of
                                            decreases, sensations of pain.
6
           60.      Use of midazolam in an execution carries a substantial risk of creating
7
     a paradoxical reaction, where the inmate becomes hyperaware, instead of unaware,
8
     of the proceedings. As a result of that heightened state of awareness, the inmate
9
     would experience even more pain from injection of the paralytic drug, suffocation, a
10
     heart attack, or other pain associated with the process as the injected lethal drug
11
     does its work.
12
           61.      The risk of a paradoxical effect is even greater when the individual in
13
     whom the drug is injected has suffered a brain injury or head trauma, or has a
14
     history of aggression or impulsivity, substance abuse, psychiatric disorders, or
15
     PTSD. Floyd was born with brain damage caused by his prenatal exposure to
16
     alcohol. 42 He then endured a childhood full of physical and verbal violence from his
17
     step-father, and, as a result of that abuse and consequent PTSD, as well as a pre-
18
     genetic disposition for addiction due to his FASD, began abusing drugs and alcohol
19
     at an early age. 43 He joined the military at age 18, exacerbating his PTSD and
20

21

22
           42   See ECF No. 66 at 83–97.
23         43   See id. at 37–40.
                                                27
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 28 of 64




1    psychiatric disorders. 44 Combined, Floyd’s history puts him at an increased risk of

2    experiencing this paradoxical effect.

3                                      iv.    The State has provided no assurances
                                              that it will properly store and administer
                                              midazolam to decrease the risk it will
4                                             cause unconstitutional pain and suffering.
5          62.        There is no evidence that the State will properly titrate the drug. The

6    FDA-approved intravenous dose for an adult patient is 1 milligram to 2.5

7    milligrams to induce sedation. Labeling instructions caution that high doses (e.g.,

8    more than 1 milligram) must be titrated (the “push rate”) slowly in order to be

9    effective. Specifically, the FDA-approved label counsels that doses of 1 to 2

10   milligrams be administered over the course of three minutes.

11         63.      There is also no evidence that the State will store the drug at the

12   correct temperature. To be effective, midazolam must be stored at temperatures

13   between 68 and 77 degrees Fahrenheit.

14         64.      Finally, there is no evidence that the State will use unexpired drugs.

15   Midazolam typically has a shelf life of three years from the date of manufacture.

16   These risks presented by midazolam are not merely speculative. As an ever-growing

17   body of evidence from executions using midazolam demonstrates, the drug is

18   unsuitable for use in executions.

19         65.      For example, in April 2014 Oklahoma executed Clayton Lockett using

20

21

22

23         44   See id. at 41.
                                                28
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 29 of 64




1    midazolam for the first time as the initial drug. 45 After working for nearly an hour

2    to establish intravenous access, the execution team injected midazolam, vecuronium

3    bromide, and most, but not all, of the potassium chloride. 46 Lockett then regained

4    consciousness, beginning to strain against the restraints, buck his head, and

5    speak. 47 The Director of the Oklahoma Department of Corrections and the Governor

6    of Oklahoma eventually called off the execution, but Lockett died a short time

7    later. 48 President Obama described the execution as “deeply troubling.” 49

8          66.      Undeterred, Oklahoma used midazolam again in the execution of

9    Charles Warner in January 2015. 50 After the executioners administered 500

10   milligrams of midazolam, witnesses heard Warner say his body was “on fire.” 51

11         67.      Similarly, in Arizona, just a few months after Lockett’s botched

12   execution, Joseph Wood gasped on the execution table for nearly two hours before

13   dying. 52 A media witness compared Wood's breathing to a “fish gulping for air,” and

14

15

16         45 Jeffrey E. Stern, The Cruel and Unusual Execution of Clayton Lockett, The
     Atlantic, https://www.theatlantic.com/magazine/archive/2015/06/execution-clayton-
17   lockett/392069/.
           46 Id.
18         47 Id.
           48 Id.

19         49 Id.
           50Andrew Buncombe, Charles Warner execution: Oklahoma inmate's last
20   words are 'my body is on fire' as state carries out first death penalty in nine months,
     Independent, https://www.independent.co.uk/news/world/americas/charles-warner-
21   execution-my-body-fire-9981842.html.
           51 Id.

22         52 See Michael Kiefer, Reporter describes Arizona execution: 2 hours, 640

     gasps, AZ Central, July 24, 2014. https://www.azcentral.com/story/news/
23   arizona/politics/2014/07/24/arizona-execution-joseph-wood-eyewitness/13083637/.
                                                29
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 30 of 64




1    a second reported counted Wood gasping more than 600 times. 53 Senator John

2    McCain of Arizona described Wood’s execution as tantamount to “torture.” 54

3          68.        There are several other examples. In Arkansas in 2017, Kenneth

4    Williams coughed and convulsed after the executioners administered the drugs. 55 At

5    points during the execution, his breathing was so heavy that a media witness saw

6    his back arch off the gurney. 56 In Ohio in 2017, Gary Otte’s stomach rose and fell

7    repeatedly after executioners injected midazolam. 57 Otte’s attorney observed that

8    his face was teary and his hands were clenched. 58 And in Tennessee in 2018, Billy

9    Ray Irick moved during his execution, leading witnesses to believe the midazolam

10   he was given did not render him fully unconscious and insensate to pain. 59

11         69.        These are just a handful of more recent cases; other examples abound.

12   See, e.g., Deborah W. Denno, When Legislatures Delegate Death: The Troubling

13   Paradox Behind State Uses of Electrocution and Lethal Injection and What it Says

14

15
           53 Id.
16         54 Ben Brumfield & Mariano Castillo, McCain: Prolonged Execution Was
     Torture, CNN, http://www.cnn.com/2014/07/25/justice/arizona-execution-
17   controversy/.
           55 See Jacob Rosenberg, Arkansas Executions: I Was Watching Him Breathe

18   Heavily and Arch His Back, The Guardian, https://www.theguardian.com/us-
     news/2017/apr/25/arkansas-execution-eyewitness-marcel-williams.
19         56Id.
           57Rising and falling of Ohio inmate's stomach was not enough to stop his
20   execution, judge explains, NY Daily News, https://www.nydailynews.com/news/
     crime/inmate-drug-reaction-not-stop-execution-judge-article-1.3508904.
21         58   Id.
           59  Dave Boucher & Adam Tamburin, Tennessee execution: Billy Ray Irick
22   tortured to death, expert says in new filing, The Tennessean, https://
     www.tennessean.com/story/news/crime/2018/09/07/tennessee-execution-billy-ray-
23   irick-tortured-filing/1210957002/.
                                                 30
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 31 of 64




1    About Us, 63 Ohio St. L.J. 63, 139 (2002); Deborah W. Denno, Getting to Death: Are

2    Executions Unconstitutional?, 82 Iowa L. Rev. 319, 428–29 (1997). Due to these

3    significant problems associated with midazolam, at least three states, Kentucky, 60

4    Florida, 61 and Arizona 62 have ceased using the drug in executions.

5                        b.     Risks created by Nevada’s intended use of fentanyl

6          70.     Fentanyl is a powerful synthetic opioid. As an opioid, fentanyl has

7    analgesic properties, but it can be lethal in minute amounts. 63 Fentanyl, however,

8    cannot be relied on to induce unawareness. Like midazolam, is not a general

9    anesthetic. Thus, the inclusion of fentanyl in Nevada’s novel drug protocol does not

10   alleviate the substantial and unjustified risk that Floyd will be aware while he is

11   being killed, and that he will agonizingly suffocate to death. Neither midazolam nor

12   fentanyl, alone or together, can reliably obtain a sufficient state where Floyd is

13   unaware of what is happening to him.

14         71.    It is well established that even high doses of fentanyl cannot reliably

15   block awareness. This recognition in the field of anesthesiology dates back thirty-

16   five to forty years, when practitioners utilizing high doses of fentanyl by itself, or

17

18         60  Kentucky drops 2-drug executions, reworking method, Daily Mail,
     http://www.dailymail.co.uk/wires/ap/article-2834665/Kentucky-drops-2-drug-
19   executions-reworking-method.html.
            61 Death Penalty Information Center, Overview of Lethal Injection Protocols,

20   https://deathpenaltyinfo.org/executions/lethal-injection/overview-of-lethal-injection-
     protocols.
21          62 See Wood v. Ryan, No. 2:14-cv-1447, ECF No. 145 at 2 (D. Ariz. Oct. 17,

     2016) (brief explaining that Arizona “has committed to removing midazolam as an
22   option from [Arizona’s execution protocol] and now unequivocally commits not to
     use midazolam again, even if it becomes available”).
23          63 Ex. 11 at 26.


                                                31
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 32 of 64




1    with a limited additional agent such as a benzodiazepine, in performing open heart

2    surgeries discovered instances of patient awareness during the operation. 64 As a

3    result, doctors stopped the practice of using high-dose fentanyl to achieve anesthetic

4    depth, and other formulas, including fentanyl (in lower dosages) but used in

5    combination with myriad other chemical agents, became the standardized practice.

6                        c.     Risks created by Nevada’s intended use of
                                cisatracurium
7
           72.     Nevada’s intended use of the third drug, cisatracurium, under its
8
     protocol is unprecedented—this protocol represents the first time any state has
9
     proposed using a paralytic as the final killing drug. The use of paralytics in other
10
     states’ execution protocols is limited to administration prior to the final killer drug
11
     (typically potassium chloride), to ensure paralysis by the time the potassium
12
     chloride induced a heart attack, hiding the condemned inmate’s torment to those
13
     viewing the execution. Here, in contrast, the State intends to use the paralyticto
14
     actually kill Floyd, by freezing his muscles, including his diaphragm, causing Floyd
15
     to die by suffocation.
16
           73.    Using a paralytic agent this way presents a substantial and unjustified
17
     risk of causing pain and suffering. As Chief Justice Roberts noted in Baze v. Rees,
18
     “failing a proper dose of sodium thiopental that would render the prisoner
19
     unconscious, there is a substantial, constitutionally unacceptable risk of suffocation
20

21         64See, e.g., Jonathan B. Mark & Leslie M. Greenberg, Intraoperative
     Awareness and Hypertensive Crisis during High-Dose Fentanyl-Diazepam-Oxygen
22   Anesthesia, 62 Anesth Analg. 698–700 (1983); Nagaprasadarao Mummanemi, M.D.,
     Awareness and Recall with High-Dose Fentanyl-Oxygen Anesthesia, 59 Anesth
23   Analg, 948–49 (1980).
                                                32
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 33 of 64




1    from the administration of pancuronium bromide [a paralytic].” 553 U.S. 35, 53

2    (2008). Just so here: should the first two drugs fail to achieve the desired state of

3    unconsciousness, “there is a substantial, constitutionally unacceptable risk of

4    suffocation from the administration of” cisatracurium. Id.

5          74.    Because the State’s execution plan is unique, only one court has ever

6    considered the constitutionality of using a paralytic as a killing agent—the Eighth

7    Judicial District Court in Clark County, Nevada. That court recognized the harm

8    presented by Nevada’s protocol. The substantial risk of harm created by use of

9    cisatracurium as the third drug was established during state court litigation

10   involving Nevada’s November 2017 protocol that utilized the same second and third

11   drugs. 65 Expert witness Dr. David Waisel, an anesthesiologist from Boston

12   Children’s Hospital in Boston, Massachusetts, considered Nevada’s execution

13   protocol and found the use of cisatracurium unjustifiable. The paralytic third drug,

14   Dr. Waisel explained, was unnecessary to effectuate death because, if the dosages of

15   the first two drugs at the levels he recommended were properly administered, the

16   inmate would have stopped breathing by the time the third drug was

17   administered. 66 It is therefore unnecessary to use cisatracurium to hasten death—

18   there is no benefit to using the paralytic. 67 On the other hand, if the first two drugs

19

20
           65  The protocol at issue in that case was substantially similar to the one at
21   issue here, with the only difference being the first drug: diazepam, a
     benzodiazepine, used in the former protocol, replaced by midazolam, also a
22   benzodiazepine, in the current protocol.
            66 Ex. 2 at 25.

23          67 Id. at 26–27.


                                                33
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 34 of 64




1    are not properly administered, there is a substantial risk that the paralytic drug

2    will cause cruel pain and suffering, as the inmate will be aware and sensate as he is

3    slowly suffocated to death. 68

4          75.        Thus, the expert concluded, the paralytic drug provides no benefit

5    while at the same time creating a substantial risk of pain and suffering. 69 In a

6    medical setting, such a risk would never be taken: “In medicine, every risk we take

7    we want a benefit for. We never take a risk that does not give a benefit.” 70

8          76.        The state court found Waisel’s testimony credible and persuasive.

9    Following the evidentiary hearing, the court enjoined NDOC from conducting an

10   execution utilizing its three-drug protocol, specifically finding the State’s use of a

11   paralytic drug presented an unconstitutional risk of injury and an objectively

12   intolerable risk of harm, in violation of the Eighth Amendment and the

13   corresponding provision of the Nevada Constitution. 71

14                         2. Risks presented by inadequate provisions for staff training

15         77.        Nevada’s execution protocol fails to provide for proper training of

16   execution team members and to ensure minimum qualifications of medical

17   personnel participating in executions, exacerbating the risks presented by Nevada’s

18   experimental lethal injection procedure.

19         78.        The lack of adequate provision for training was also the subject of

20   expert testimony in the state court litigation concerning the potential execution of

21
           68   Id.
22         69 Ex. 2 at 107–08.
           70 Id. at 108.
23         71 Ex. 7 at 15–16.


                                                  34
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 35 of 64




1    volunteer Scott Dozier. 72 The expert anesthesiologist for the Floyd, Dr. David

2    Waisel, who additionally possessed expertise in lethal injection executions, provided

3    oral testimony and sworn declarations in which he opined that Nevada’s protocol

4    failed to adequately set forth the execution staff qualifications and training needed

5    for conducting an execution.

6          79.    As Dr. Waisel testified in state court proceedings on Nevada’s

7    execution protocol, ensuring proper training and qualification is crucial:

8                 The protocol is predicated on an assessment of anesthetic
                  depth. That is whether [the inmate] can respond. That is
                  a skill that comes from training and experience. Without
9                 knowing that, it is impossible to assess the risk of an
                  error in this rather—in this assessment, which is actually
10                an art. It's not a black-and-white matter. It's an ability to
                  assess for subtle signs that may indicate that there's a
11                potential for response. 73

           80.    In other words, executions require a trained, qualified medical
12
     professional to assess the condemned inmate’s level of anesthetic depth. Under
13
     Nevada’s current protocol, assessment of the anesthetic depth of the inmate prior to
14
     administering the final, killing drug, is achieved by the “attending physician or
15
     other medical personnel,” who must attempt to elicit a response to tactile stimuli—
16
     in the form of a “medical grade pinch. Just because an individual does not respond
17
     to tactile stimuli, however, does not necessarily mean the person is unaware. 74
18
     Indeed, the expert noted that even a medical school graduate practicing as a
19

20

21         72 Provision for training in Nevada’s 2018 protocol is the same as that
     provided in the November 2017 protocol about which Dr. Waisel provided
22   testimony.
           73 Ex. 2 at 32.

23         74 Ex. 2 at 33.


                                               35
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 36 of 64




1    licensed surgeon would not necessarily know when a person was sufficiently

2    unaware to accurately administer the cisatracurium: “this assessment is not

3    something that is part of surgical training, nor is it part of something that they

4    practice on a daily basis or a frequent basis.” 75 And Dr. Waisel further testified to

5    being unaware of the term “medical grade pinch” used by Nevada’s protocol and

6    being unaware of any objectively ascertainable definition of the term. 76

7          81.      Dr. Waisel ultimately opined that if execution staff’s ability to assess

8    anesthesia is limited by inadequate training or lack of experience, an error is more

9    likely to occur. “If they are wrong, in other words, if he’s not sufficiently

10   anesthetized and he receives cisatracuriam, he is at risk for being aware and

11   paralyzed, which is quite harmful to [the condemned inmate].” 77 In addition, as Dr.

12   Waisel explained, a prison setting is a dramatically unfamiliar situation and

13   location for execution team personnel, which increases the risk of errors. 78 Risks are

14   further increased if staff is inexperienced, and thus high quality practice is “of

15   critical importance.” 79 Practice means having a sufficient number of rehearsals

16   prior to the execution to ensure the execution team is prepared and ready. However,

17   having reviewed Nevada’s updated execution protocol, Dr. Waisel noted that it

18   failed to provide any assurances regarding the training, practice, and experience of

19

20

21         75 Id.
           76 Id. at 34.
22         77 Id. at 35.
           78   Ex. 8 at 2–3.
23         79   Id. at 3, 5.
                                                 36
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 37 of 64




1    its personnel involved in the execution. 80 He specifically noted the protocol failed to

2    state the amount of experience minimally required for the EMTs responsible for

3    placing the IV lines, and it failed to require the attending physician to have

4    specialized training and sufficient experience assessing and monitoring anesthetic

5    depth. 81 Dr. Waisel opined that the combination of factors presented by the

6    shortcomings in Nevada’s execution protocol created a substantial risk of harm:

7                      In short, having inexpert executioners in an unfamiliar
                       and suboptimal location performing an event they have
                       not done before and have not had sufficient high-quality
8                      practice performing, using a novel unproven technique,
                       creates a substantial risk for an error that causes
9                      substantial harm. 82

10            82.      Dr. David Greenblatt, who reviewed Nevada’s June 2018 Protocol,

11   shares the same opinion as Dr. Waisel regarding the need for an appropriately

12   trained and qualified medical professional to assess the inmate’s level of anesthetic

13   depth:

14                     [I]t is absolutely necessary that a current, active licensed
                       physician, experienced with anesthesia or emergency
                       medicine, be present during the procedure to, at
15                     minimum, direct and oversee the actions or performance
                       of the other execution team members involved in carrying
16                     out the execution. 83

17            83.      Thus, Nevada’s execution protocol is insufficient in that it does not

18   provide any assurance that the individual, even if he or she is a physician, is

19   adequately trained and professionally qualified to assess the condemned inmate’s

20   anesthetic depth. This flaw in the protocol is exacerbated by the ambiguity

21
              80 Id. at 3, 6.
22            81 Id. at 6.
              82 Id. at 3.

23            83   Ex. 11 at 27–28.
                                                    37
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 38 of 64




1    regarding the presence of an attending physician—as opposed to some undefined

2    “other medical personnel”—to monitor the anesthetic depth and to perform the

3    verbal and physical stimuli checks.

4          84.      In addition, the current protocol assigns to “Drug Administrators” the

5    responsibility of injecting the drugs. 84 The protocol fails to set forth any minimal

6    qualifications and experience required of the drug administrators.

7          85.       Nevada’s June 2018 protocol appears to provide for no more execution

8    team training than that provided in the November 2017 protocol, with one

9    exception. The 2018 protocol added a provision in EM 110 “Execution Procedure”

10   stating that, prior to the execution, the Warden is to receive “practical training” in

11   measuring and reporting level of consciousness, and monitoring the IV sites for

12   signs of compromise. 85 Even with practical training, however, the Warden is not

13   qualified to perform these tasks. Having unqualified personnel carrying out a lethal

14   injection creates undue risk of harm and a botched execution.

15                       3. Failure to provide right of access to counsel and to the
                            courts
16
           86.      The execution protocol spells out various procedures and a timeline for
17
     the day of the inmate’s scheduled execution, including final visitation rights of the
18
     condemned inmate, and right to have a representative family member present at
19
     the execution, but it glaringly omits any reference to the condemned inmate’s
20
     counsel. 86 Thus, Nevada’s current execution protocol fails to provide the condemned
21

22         84   Ex. 5 at 48.
           85   Ex. 5 at 47.
23         86   See generally Ex. 5.
                                                38
            Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 39 of 64




1    inmate with adequate access to counsel and to the courts on the day of his

2    scheduled execution. This includes a failure to provide such access during the final

3    hours leading up to, and at the time of, the execution. This omission is exacerbated

4    by the State’s scheduling of an execution during a pandemic, with only one month’s

5    notice, while the prison is closed to visitors—including attorneys representing

6    condemned inmates.

7    VII.    CLAIMS FOR RELIEF

8            Count I: Proceeding with Floyd’s execution under the current protocol
                      violates his Eighth and Fourteenth Amendment rights to be
                      free from cruel and unusual punishment.
9
             1.   Nevada’s three-drug execution protocol, utilizing midazolam, fentanyl
10
     and cisatracurium, violates Floyd’s right to be free from infliction of cruel and
11
     unusual punishment under the Eighth Amendment to the United States
12
     Constitution.
13
             2.   Floyd realleges and incorporate herein by reference all of the preceding
14
     paragraphs of this Complaint as if set forth in full below.
15
             A.   Nevada’s execution protocol presents a substantial risk of serious
16                harm.

17           3.   The Eighth Amendment forbids the Government, in carrying out a

18   death sentence, from inflicting pain beyond that necessary to end the condemned

19   prisoner’s life. In re Kemmler, 136 U.S. 436, 447 (1890). “Punishments are cruel

20   when they involve torture or a lingering death . . . something more than the mere

21   extinguishment of life.” Id.; see also Baze v. Rees, 553 U.S. 35, 50 (2008) (explaining

22   an execution violates the Eighth Amendment if it presents a “substantial risk of

23   serious harm”); Bucklew v. Precythe, 139 S. Ct. 1112, 1126 (2019).

                                               39
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 40 of 64




1                 1.     The three drugs in Nevada’s execution protocol create an
                         unconstitutional risk of pain and suffering.
2
           4.     Nevada’s execution protocol presents a substantial risk of serious harm
3
     in violation of the Eighth Amendment. The experimental, never-before-used
4
     procedure creates a risk of inflicting excruciating pain.
5                        a.     Midazolam, the first drug, does not function as
                                needed, causes pain and suffering, and has been
6                               linked to numerous botched executions.

7          5.     Specifically, the first drug to be utilized, midazolam, is not an

8    analgesic drug and at any dosage is unable to put the inmate in a state of being so

9    deeply sedated as to be unconscious and insensate. 87 Even after the maximum

10   sedative effect is reached, Floyd will nevertheless remain sensate and is sure or

11   very likely to experience the severe pain and suffering associated with the third

12   drug in the Nevada protocol. 88 In addition, Floyd is sure or very likely to suffer from

13   acute pulmonary edema, causing a sensation of severe burning in his blood vessels

14   and feelings of suffocation, including gasping and fighting desperately for breath. 89

15   Following administration of the required midazolam, Floyd is also certain or very

16   likely to remain sensate to the severe pain and suffering associated with injecting

17   the third drug under Nevada’s protocol. 90

18                       b.     Fentanyl, the second drug, cannot be relied on to
                                induce unawareness.
19         6.     Nevada’s use of fentanyl, an opioid, as the second drug in its lethal

20

21
           87 Ex. 11 at 28.
22         88 Id.
           89 Id. at 23, 29.

23         90 Id.


                                               40
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 41 of 64




1    injection procedure contributes to the substantial risk of harm presented by

2    Nevada’s experimental protocol. Specifically, because Nevada’s first drug,

3    midazolam, is inadequate for the intended purpose, it is imperative that the second

4    drug reliably induce the requisite depth of anesthesia and render the inmate

5    completely unconscious, unaware, and insensate to pain. Fentanyl, however, is

6    demonstrated to be unreliable, even in high doses, for inducing unawareness. 91 Its

7    experimental use in Nevada’s protocol creates an undue and substantial risk that

8    Floyd will be aware, will experience “air hunger,” and will suffer a horrific death

9    when the third drug, cisatracurium, is introduced into his body.

10                       c.     Cisatracurium, the third drug, is a paralytic that
                                could cause Floyd to be paralyzed and awake while
                                dying of suffocation.
11
           7.     Finally, the third drug, the paralytic cisatracurium, will paralyze
12
     Floyd’s muscles, including his diaphragm, causing him to experience “air hunger”
13
     and die by suffocation. This will cause extreme pain should the first two drugs not
14
     be properly administered—a likely outcome given the other problems with the
15
     State’s execution protocol. Worse yet, there is no need for taking this risk—
16
     cisatracurium, is wholly unnecessary in the execution process: Proper delivery of
17
     the second drug, fentanyl, will kill Floyd.
18
           8.     “[T]he purposeless and needless imposition of pain and suffering” is by
19

20

21         91See, e.g., Jonathan B. Mark & Leslie M. Greenberg, Intraoperative
     Awareness and Hypertensive Crisis during High-Dose Fentanyl-Diazepam-Oxygen
22   Anesthesia, 62 Anesth Analg. 698–700 (1983); Nagaprasadarao Mummanemi, M.D.,
     Awareness and Recall with High-Dose Fentanyl-Oxygen Anesthesia, 59 Anesth
23   Analg, 948–49 (1980).
                                               41
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 42 of 64




1    definition “unconstitutional punishment.” Atkins v. Virginia, 536 U.S. 304, 319

2    (2002) (quoting Enmund v. Florida, 458 US 782, 798 (1982)); see Gregg v. Georgia,

3    428 U.S. 153, 183 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.)

4    (pronouncing that a “sanction imposed cannot be so totally without penological

5    justification that it results in the gratuitous infliction of suffering”); see also Hope v.

6    Pelzer , 536 U.S. 730 (2002) (explaining that punishment involving hitching post

7    “amounts to gratuitous infliction of ‘wanton and unnecessary’ pain” and violates

8    “basic concept underlying the Eighth Amendment [which] is nothing less than the

9    dignity of man.”); Coker v. Georgia, 433 U.S. 584, 592 (1977) (plurality opinion)

10   (explaining punishment is excessive if it is “nothing more than the purposeless and

11   needless imposition of pain and suffering”); La ex rel. Francis v. Resweber, 329 US

12   459, 463 (1947) (“The traditional humanity of modern Anglo-American law forbids

13   the infliction of unnecessary pain in the execution of the death sentence.”). That is

14   precisely the case here. The State’s proposed use of cisatracurium as the third drug

15   in its protocol presents a risk of severe, substantial, and serious pain and

16   suffering—the risk that Floyd will experience “air hunger,” while aware yet

17   paralyzed and suffocating to death. Executing Floyd under the current protocol,

18   despite of less harmful alternatives, would violate his Eighth Amendment right to

19   be free from cruel and unusual punishment.

20                 2.     The lack of necessary safeguards in Nevada’s protocol
                          increases the substantial risk of harm.
21
            9.     On their own, the harm from the three drugs render any execution
22
     under the current protocol unconstitutional. But the substantial risk of harm is
23
                                                 42
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 43 of 64




1    heightened even further by the protocol’s failure to provide for adequate training,

2    access to counsel, and access to the courts.

3                        a.     Nevada’s execution protocol does not provide for
                                adequate training of members of the execution team.
4
           10.    As anesthesiologist Dr. Waisel testified in 2017, the State's current
5
     execution protocol fails to provide for adequate training of execution team members
6
     to ensure a lawful execution. The protocol is predicated on an assessment of
7
     anesthetic depth. That is whether [the inmate] can respond. That is a skill that
8
     comes from training and experience. Without knowing that, it is impossible to
9
     assess the risk of an error in this rather—in this assessment, which is actually an
10
     art. It's not a black-and-white matter. It's an ability to assess for subtle signs that
11
     may indicate that there's a potential for response. 92
12
           11.    In other words, the State, in order to properly assess anesthetic depth,
13
     must include in the execution team a trained, qualified medical professional. But
14
     the current protocol lacks that provision, failing to provide any assurances
15
     regarding the training, practice, and experience of its personnel involved in the
16
     execution. 93 Dr. Waisel specifically noted the protocol fail to state the amount of
17
     experience minimally required for the EMTs responsible for placing the IV lines,
18
     and it failed to require the attending physician to have specialized training and
19
     sufficient experience assessing and monitoring anesthetic depth. 94
20
           12.    Instead of providing for the needed level of training, the protocol
21

22         92 Ex. 2 at 32.
           93 Ex. 8 at 3, 6.
23         94 Id. at 6.


                                                43
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 44 of 64




1    simply states that the attending physician or other medical personnel must attempt

2    to elicit a response to tactile stimuli (in the form of a “medical grade pinch”) from

3    the inmate. 95 This is insufficient for multiple reasons.

4          13.    First, as Dr. Waisel testified, lack of response to tactile stimuli does

5    not necessarily mean the person is unaware. 96

6          14.    Second, even a licensed surgeon would not necessarily know when a

7    person was sufficiently unaware for purposes of the protocol: “this assessment is not

8    something that is part of surgical training, nor is it part of something that they

9    practice on a daily basis or a frequent basis.” 97

10         15.    Third, Dr. Waisel—a licensed anesthesiologist—testified he was

11   unaware of the term “medical grade pinch,” and he further was unaware of any

12   objectively ascertainable definition of the term. 98

13         16.     A prison is a dramatically different location than most medical

14   personnel are used to. 99

15         17.    The expert ultimately opined that if execution staff’s ability to assess

16   anesthesia is limited by inadequate training or lack of experience, an error is more

17   likely to occur. “If they are wrong, in other words, if he’s not sufficiently

18   anesthetized and he receives cisatracuriam, he is at risk for being aware and

19

20

21         95 Ex. 5 at 48 (emphasis added).
           96 Ex. 2 at 33.
22         97 Id.
           98 Id. at 34.

23         99 Ex. 8 at 2–3.


                                                 44
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 45 of 64




1    paralyzed, which is quite harmful to [the condemned inmate].” 100 Dr. Waisel added

2    that the combination of factors presented by the shortcomings in Nevada’s

3    execution protocol created a substantial risk of harm:

4          18.    In short, having inexpert executioners in an unfamiliar and likely

5    suboptimal location performing an event they have not done before and have not

6    had sufficient high-quality practice in doing, using a novel unproven technique

7    dangerous[ly] creates a substantial risk for an error that causes substantial

8    harm. 101

9          19.    Nevada’s current protocol is identical to the protocol Dr. Waisel

10   reviewed, with one exception. The current protocol provides that at some

11   unspecified time prior to the execution:

12                [T]he Warden will receive practical training in:

                  1.     Measuring and reporting the condemned inmate's
13                       level of consciousness.
14                2.     Monitoring the IV sites for signs of compromise. 102

15         20.    It is the expert opinion of Dr. David Greenblatt, however, that “the

16   tasks of monitoring and reporting the level of consciousness (anesthetic depth) of

17   the inmate, and monitoring the IV sites for signs of compromise, are not for the

18   prison warden to be handling.” 103

19

20

21
           100 Ex. 2 at 35.
22         101 Ex. 8 at 3.
           102 Ex. 5 at 47.

23         103 Ex. 11 at 28.


                                                45
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 46 of 64




1                         b.    Nevada’s execution protocol fails to provide adequate
                                access to counsel and the courts on the day of an
                                execution.
2
           21.      Nevada’s protocol also fails to provide the condemned inmate with
3
     adequate access to counsel and to the courts on the day of his scheduled execution,
4
     including during the final hours leading up to, and at the time of, the execution.
5
     Without access to counsel and the courts, Floyd will be unable to seek vindication of
6
     his constitutional rights at the end of his life, including his right to be free from
7
     cruel and unusual punishment during the execution.
8
           22.      Specifically, the protocol provides no assurances that Floyd will be
9
     able to communicate with his counsel and, through his counsel, the courts, should
10
     the proceedings go awry. Nor will Floyd’s counsel have available means to directly
11
     communicate with Floyd and with prison officials in the event a last-minute stay of
12
     execution or commutation.
13
           23.      These concerns are amplified by the timing of the State’s execution
14
     warrant (execution to be held the week of June 7, 2021). All NDOC facilities,
15
     including Ely State Prison, have been closed to visitors since the COVID-19
16
     pandemic began more than a year ago. 104 And the State has provided no assurances
17
     that Floyd’s counsel will be able to confidentially communicate with him leading up
18
     to his execution, let alone visit in person.
19
           24.      These shortcomings of Nevada’s execution protocol exacerbate the risk
20
     that Floyd will suffer pain or severe harm during his execution.
21

22
           104   See NDOC COVID-19 Updates, State of Nevada, Department of
23   Corrections, https://doc.nv.gov/About/Press_Release/covid19_updates/.
                                                    46
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 47 of 64




1          B.     There are feasible, readily implemented alternative methods
                  available that would significantly reduce the substantial risk of
                  severe pain.
2
           25.    In Baze, a plurality of the Supreme Court held that, to establish an
3
     Eighth Amendment violation based on a method of execution, an inmate must
4
     identify a “feasible, readily implemented” alternative procedure that would
5
     “significantly reduce a substantial risk of severe pain.” 553 U.S. at 52. 105 The
6
     Supreme Court reiterated this rule two years ago, holding that, to establish an
7
     Eighth Amendment violation, “a prisoner must show a feasible and readily
8
     implemented alternative method of execution that would significantly reduce a
9
     substantial risk of severe pain and that the State has refused to adopt without a
10
     legitimate penological reason.” Bucklew v. Precythe, 139 S. Ct. 1112, 1125 (2019)
11
     (citing Glossip, 576 U.S. 863, 868–78 (2015)); see Baze v. Rees, 553 U.S. 35, 52
12
     (2008). “An inmate seeking to identify an alternative method of execution,” however,
13
     “is not limited to choosing among those presently authorized by a particular State's
14
     law.” Bucklew, 139 S. Ct at 128.
15
           26.     Here, solely for the purposes of this Complaint, and because the
16
     Supreme Court has made it a prerequisite to a successful Eighth Amendment
17
     method-of-execution challenge, counsel for Floyd identifies the following two
18
     methods of execution as feasible and readily implemented alternatives: (1)
19
     execution by firing squad; and (2) execution by a two-drug lethal injection procedure
20
     using a barbiturate as the second drug. Floyd specifically prefers to be executed by
21

22
           105The Supreme Court reaffirmed this test in a majority opinion in Glossip v.
23   Gross, 576 U.S. 863 (2015).
                                                47
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 48 of 64




1    firing squad.

2                    1.    Execution by firing squad

3          27.       Execution by firing squad is a feasible alternative method of execution

4    that would significantly reduce the substantial risk of pain from Nevada’s current

5    three-drug protocol. See Bucklew, 139 S. Ct. at 1125.

                           a.     Execution by firing squad is a feasible alternative.
6
           28.       Three states currently authorize execution by firing squad
7
     (Mississippi, Oklahoma and Utah). Other countries have also used firing squads in
8
     executions, including the former Soviet Union, Belarus, and China. 106 Nevada has
9
     the means and ability to join these jurisdictions.
10
           29.       For example, Utah executed Ronnie Lee Gardner on June 18, 2010,
11
     using a firing squad. And the United States military has used firing squads to
12
     execute at least eleven United States military servicemen, including Private Eddie
13
     Slovik on January 31, 1945, as well as foreign nationals during times of war. One of
14
     those executions, of German Army General Anton Dostler, was officially filmed by
15
     the United States Army Signal Corps. That film is now kept as an official United
16
     States Government record in the National Archives. 107
17
                           b.     Execution by firing squad significantly reduces the
18                                substantial risk of pain inherent in Nevada’s current
                                  protocol.
19
           30.       Execution by firing squad eliminates several of the risks inherent in
20
     Nevada’s current protocol. For example, a firing squad eliminates risks associated
21

22
           106   Ex. 10.
23         107   See Anton Dostler, Wikipedia, https://en.wikipedia.org/wiki/Anton_Dostler.
                                                 48
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 49 of 64




1    with establishing IV access. And a firing squad eliminates concerns with inmates’

2    physical and medical conditions.

3           31.    Execution by firing squad also causes a faster and less painful death

4    than execution by lethal injection. See Arthur v. Dunn, 137 S. Ct. 725, 733–34

5    (2017) (Sotomayor, J., dissenting) (citing reports that a firing squad may cause

6    nearly instantaneous death, be comparatively painless, and have a lower chance of

7    a botched execution); see also Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J.,

8    concurring) (addressing the availability of firing squad as an alternative). And

9    execution by firing squad “is significantly more reliable” than lethal injection.

10   Glossip v. Gross, 135 S. Ct. 2726, 2796 (2015) (Sotomayor, J., dissenting). Recent

11   studies have confirmed that execution by firing squad statistically is much less

12   likely to result in “botched” executions than lethal injection. 108 Indeed, since the

13   death penalty was reinstated by the Supreme Court in 1976, the firing squad has

14   been successfully used in three executions, in 1977, 1996, and 2010. 109

15          32.    Floyd specifically requests using a .22 Winchester Magnum Rimfire

16   caliber bullet of 40 to 60 grains, fired by 2 to 3 rifles of the .22 WMR rifle class,

17   which will ensure that the 2 to 3 bullets fired into the brainstem would have more

18   than sufficient energy to penetrate through to the brainstem. Further, , using these

19
              See Austin Sarat, Gruesome Spectacles: Botched Executions and
            108
20
     America’s Death Penalty (2014).
          109 Utah Reaches Ten Years With No Executions, Death Penalty Information
21
     Center, June 18, 2020, https://deathpenaltyinfo.org/news/utah-reaches-ten-years-
     with-no-executions#.
22

23
                                                 49
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 50 of 64




1    types of bullets and rifles will ensure that energy from those bullets will dissipate

2    quickly, making it unlikely the bullets will exit the skull on the opposite side. And

3    the relatively lower energy of this combination of bullet and ammunition would be

4    insufficient to cause the explosive expansion of the cranial vault seen with high-

5    velocity rifle rounds, while still yielding rapid destruction of the key components of

6    the central nervous system at the brainstem.

7          33.    Additionally, by targeting the brainstem, Floyd’s death would be

8    extremely rapid. The bullets would transect the brainstem milliseconds after

9    reaching the external surface of the head, faster than neural transmissions from the

10   sensory nerves could communicate that event to the conscious brain, and faster

11   than the speed of sound. Thus, Floyd would neither hear the reports of the rifles nor

12   feel the impact of the bullets before the bullets hit his brainstem. Thus, while not

13   truly instantaneous, such a mechanism would be instantaneous for all practical

14   purposes, causing instant and catastrophic damage to Floyd brainstem, along with

15   irreversible loss of consciousness, awareness, and sensation, and followed almost

16   immediately by death.

17                2.     Lethal injection by two-drug protocol

18         34.     A second method of execution is also feasible—Execution using two

19   drugs, with an analgesic such as fentanyl as the first drug, and a barbiturate such

20   as pentobarbital or sodium pentothal (thiopental) as the second drug. This method,

21   like the firing squad, would significantly reduce the substantial risk of pain

22   inherent in Nevada’s current protocol.

23         35.    Unlike midazolam, pentobarbital is a barbiturate that acts as a

                                               50
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 51 of 64




1    sedative hypnotic drug. Barbiturates do not have a ceiling effect. And a barbiturate

2    like pentobarbital reliably induces and maintains a coma-like state that renders a

3    person insensate to pain. Thus, when properly administered, barbiturates eliminate

4    the risk that a prisoner will feel the administration of other lethal drugs.

5                        a.     The two-drug alternative is feasible.

6          36.    Five states—Georgia, Idaho, Missouri, South Dakota, and Texas—use

7    a single-drug pentobarbital protocol as their method of execution. And, according to

8    former United States Attorney General William Barr, pentobarbital is "widely

9    available.” 110 Indeed, several jurisdictions, including Texas and the federal

10   government, have recently used pentobarbital in carrying out executions. Recently,

11   Arizona announced that it too had accessed pentobarbital. 111

12         37.    In addition, the State has admitted that fentanyl, the proposed first

13   drug, is available, as the drug is included in the State’s current protocol.

14         38.    The Supreme Court has also suggested a similar procedure was

15   constitutional (using pentobarbital as the killing agent). In a decision denying an

16   application for a stay of execution, the Court explained pentobarbital “‘is widely

17   conceded to be able to render a person fully insensate’ and ‘does not carry the risks’

18

19         110  Katie Benner, U.S. to Resume Capital Punishment for Federal Inmates on
     Death Row, N.Y. Times, https://www.nytimes.com/2019/07/25/us/politics/federal-
20   executions-death-penalty.html.
            111 Arizona finds pharmacist to prepare lethal injections, Assoc. Press,

21   https://apnews.com/article/arizona-doug-ducey-phoenix-
     df8203ee5c11d43ca84ce79c77616fdd; Jeremy Duda, Arizona finds pharmacist
22   willing to supply execution drugs, Tucson Sentinel,
     http://www.tucsonsentinel.com/local/report/102820_pharma_executions/arizona-
23   finds-pharmacist-willing-supply-execution-drugs.
                                                51
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 52 of 64




1    of pain that some have associated with other lethal injection protocols.” Barr v. Lee,

2    140 S. Ct. 2590, 2591 (2020) (per curiam) (quoting Zagorski v. Parker, 139 S. Ct. 11

3    (2018) (Sotomayor, J., dissenting from denial of application for stay and denial of

4    certiorari)). The Court further observed that single-dose pentobarbital protocols had

5    become “a mainstay of state executions,” and additionally noted that pentobarbital:

6                 Has been adopted by five of the small number of States that
                  currently implement the death penalty.
7                 Has been used to carry out over 100 executions, without
                  incident.
8
                  Has been repeatedly invoked by prisoners as a less painful
9                 and risky alternative to the lethal injection protocols of
                  other jurisdictions.
10                Was upheld by this Court last year, as applied to a prisoner
                  with a unique medical condition that could only have
11                increased any baseline risk of pain associated with
                  pentobarbital as a general matter.
12                Has been upheld by numerous Courts of Appeals against
                  Eighth Amendment challenges similar to the one
13                presented here.

14   Id. (internal citation omitted).

15                       b.     The two-drug alternative significantly reduces the
                                substantial risk of pain inherent in Nevada’s current
                                protocol.
16
           39.    Using a barbiturate instead of a paralytic as the killing agent would
17
     minimize pain and suffering—The trend among the death penalty states to go to a
18
     simpler method of execution utilizing a barbiturate as the fatal drug aligns with the
19
     concerns for humanity and for minimizing pain and suffering—a fact recognized by
20
     the veterinary community for decades in its proscription of paralytics in animal
21

22

23
                                               52
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 53 of 64




1    euthanasia. 112

2          40.    While the trend has been to utilize a single-drug protocol, Petitioner’s

3    proposed two-drug alternative aligns with that trend but simply adds an analgesic

4    as the first drug additionally prevents suffering due to flash pulmonary edema, an

5    effect caused by an overdose a barbiturate. Recent studies are finding that the

6    administration of a heavy dose of pentobarbital in a short amount of time causes

7    pulmonary edema to occur to the condemned inmate. As an additional alternative to

8    the above, execution by a two-drug procedure utilizing as the second drug

9    compounded pentobarbital or sodium pentothal (thiopental) that complies with all

10   state and federal compounding requirements, and has been tested for purity and

11   potency, with records of testing, chain of custody, and compounding formula

12   disclosed to prisoners and their counsel, presents another feasible method of

13   execution that—along with implementation of necessary measures and safeguards

14   to assure a lawful and humane execution that complies with the guarantees

15   afforded to all citizens including Floyd under the Eighth Amendment—is available

16   to Nevada and NDOC.

17         Count II: Proceeding with Floyd’s execution under the current protocol
                     violates his Eighth and Fourteenth Amendment rights to
                     medical care and to be free from serious harm.
18
           1.     Floyd realleges and incorporates herein by reference all the preceding
19

20
           112 It is well established throughout the veterinary community—including in
21   Nevada—that a single-drug protocol using a barbiturate is the only humane method
     for animal euthanasia. American Veterinary Medical Association, AVMA Guidelines
22   for the Euthanasia of Animals, at 43–44, 49, 102 (2013); see also Ty Alper,
     Anesthetizing the Public Conscience: Lethal Injection and Animal Euthanasia, 35
23   Ford. Urb. L. J. 817, 834-35, 841–42 (2008); Nev. Rev. Stat. § 638.005.
                                              53
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 54 of 64




1    paragraphs of this Complaint as if set forth in full below.

2          2.      The Eighth Amendment forbids “deliberate indifference” to “serious

3    medical needs of prisoners,” Estelle v. Gamble, 429 U.S. 97, 104 (1976), and to a

4    substantial risk of serious harm to a prisoner, see Farmer v. Brennan, 511 U.S. 825,

5    834 (1994).

6          3.      The choice of a course of medical treatment may violate the Eighth

7    Amendment where it is “so blatantly inappropriate as to evidence intentional

8    mistreatment likely to seriously aggravate the prisoner’s condition.” Thomas v.

9    Pate, 493 F.2d 151, 158 (7th Cir. 1974), vacated and remanded on other grounds sub

10   nom. Cannon v. Thomas, 419 U.S. 813 (1974).

11         4.      Defendants are required to provide Floyd with appropriate medical

12   care until the moment of his death. Thus, the Eighth Amendment’s proscription

13   against deliberate indifference requires that they administer the death penalty

14   without the “unnecessary and wanton infliction of pain.” Gregg, 428 U.S. at 173.

15         5.      The current execution protocol constitutes deliberate indifference to a

16   substantial risk of serious harm to Floyd. Floyd has alleged several feasible and

17   readily implemented alternatives to the execution protocol that would substantially

18   reduce the risk of substantial harm.

19         6.      The execution protocol violates rights secured and guaranteed to Floyd

20   by the Fifth, Eighth, and Fourteenth Amendments of the United States

21   Constitution.

22

23
                                               54
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 55 of 64




1          Count III: Proceeding with Floyd’s execution under the current protocol
                      violates his Fifth and Fourteenth Amendment rights to due
                      process.
2
           1.     Floyd realleges and incorporates herein by reference all the preceding
3
     paragraphs of the instant Complaint as if set forth in full below.
4
           2.     The Due Process Clause of the Fifth Amendment and the companion
5
     provision of the Fourteenth Amendment entitle Floyd to notice and an opportunity
6
     to be heard before being deprived of life, liberty, or property.
7
           3.     Being “deprived of life” unequivocally implicates a constitutionally
8
     protected interest under the Fifth Amendment, and the United States Supreme
9
     Court has held that constitutionally protected “liberty interests are implicated”
10
     when the government plans to “inflict[] appreciable physical pain.” Ingraham v.
11
     Wright, 430 U.S. 651, 674 (1977).
12
           4.     The State has not disclosed sufficient information or details regarding
13
     the development and drafting of the Execution Protocol or the procedures that will
14
     be utilized in carrying out Floyd’s execution. This has prevented Floyd from
15
     determining all aspects of the execution protocol that violate provisions of federal
16
     law or constitute cruel and unusual punishment, from consulting medical experts
17
     concerning those aspects, and from determining and seeking to remedy the ways in
18
     which the Execution Protocol presents an avoidable risk of unconstitutional pain
19
     and suffering.
20
           5.     Executing Floyd pursuant to the execution protocol would violate
21
     Floyd’s right to due process because it would deprive Floyd of his life and liberty
22
     without providing sufficient notice and opportunity to be heard on the execution
23
                                                55
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 56 of 64




1    procedures to be used.

2          Count IV: Proceeding with Floyd’s execution under the current protocol
                    violates his First, Sixth, and Fourteenth Amendment rights of
                    access to courts, counsel, and to meaningful litigate claims.
3
           1.       Floyd realleges and incorporates herein by reference all the preceding
4
     paragraphs of the instant Complaint as if set forth in full below.
5
           2.       The current execution protocol has no provision ensuring Floyd can
6
     communicate directly and in person with his counsel at and around the time of the
7
     scheduled execution, including on the day of his execution. Nor does the protocol
8
     have any provision ensuring Floyd shall have ready access to a phone or otherwise
9
     be able to communicate directly and immediately with the federal and state courts
10
     or other governmental officials at and around the time of his execution. And the
11
     protocol further lacks any assurances that Floyd’s counsel can communicate directly
12
     to prison officials in the death chamber or adjacent equipment room who are
13
     responsible for carrying out the execution. Finally, the protocol fails to provide for
14
     counsel’s attendance as a witness to Floyd’s execution to oversee that Floyd’s
15
     constitutional rights are protected throughout the process of his execution.
16
           3.       Nevada’s Execution Manual Section 109, entitled Execution Process
17
     Timeline, specifically provides for family members to visit with Floyd on the day of
18
     his execution, but it has no such provision for Floyd’s counsel. 113 And it is unclear
19
     whether even family will be able to visit, given the restrictions on visiting due to the
20
     COVID-19 pandemic.
21

22

23         113   Ex. 5.
                                                56
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 57 of 64




1          4.          Nevada’s Execution Manual Section 109, entitled Execution Process

2    Timeline, specifically provides for allowing one inmate family member on-site to

3    witness the execution at the invitation of NDOC’s director, but it has no such

4    provision for Floyd’s counsel.

5          5.          Nevada’s Execution Manual Section 109, entitled Execution Process

6    Timeline, specifically authorizes the condemned inmate to receive visits, following

7    his last meal, from his “Spiritual Advisor/Chaplain, Attorney General (or designee),

8    Director, Deputy Director, Warden, or PIO,” (EM 109.05.K), but provides no such

9    authorization for Floyd’s counsel. This provision adds that “Any other visitors must

10   be approved by the Director.”

11         6.          The only reference to Floyd’s counsel regarding the day of execution is

12   at EM 109.05.L, which authorizes Floyd to send out a letter or make a final

13   telephone call to his attorney-of-record.

14         7.          Nevada’s Execution Manual, section EM 102, entitled “Witness

15   Selection Criteria and Instructions,” sets forth those individuals who the Director of

16   the Department of Corrections “shall” invite, and those individuals who the Director

17   “may” invite, to the execution. 114 Neither list includes or references Floyd’s counsel.

18   The protocol specifically states in accord with NRS 176.355(4), that “A person who

19   has not been invited by the Director may not witness the execution.” 115

20         8.          Nevada’s Execution Manual, section EM 100.02.A.e, provides that the

21

22
           114   Id.
23         115   Id.
                                                   57
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 58 of 64




1    NDOC Director is to determine the maximum number of persons who may be

2    present for the execution. 116

3          9.          Floyd has a constitutional right of access to the courts that is

4    “adequate, effective, and meaningful.” Bounds v. Smith, 430 U.S. 817, 822 (1977).

5    Meaningful access means that inmates must have the opportunity to “communicate

6    privately with an attorney.” See Ching v. Lewis, 895 F.2d 608, 609 (9th Cir. 1990);

7    Mann v. Reynolds, 46 F.3d 1055, 1061 (10th Cir. 1995) (invalidating prison policy

8    preventing contact visits between inmates and attorneys); see also DeMallory v.

9    Cullen, 855 F.2d 442, 446 (7th Cir. 1988) (“A prison inmate’s right of access to the

10   courts is the most fundamental right he or she holds. ‘All other rights of an inmate

11   are illusory without it, being entirely dependent for their existence on the whim or

12   caprice of the prison warden[,]’” (quoting Adams v. Carlson, 488 F.2d 619, 630 (7th

13   Cir. 1973)).

14         10.         A prison regulation impinging on an inmate’s constitutional rights is

15   only “valid if it is reasonably related to legitimate penological interests.” Turner v.

16   Safley, 482 U.S. 78, 89 (1987). In evaluating a claim of denial of meaningful access

17   to the courts, a court must “weigh[] the interests of the prison as an institution (in

18   such matters as security and effective operation) with the constitutional rights

19   retained by the inmates.” Cooey v. Strickland, 2011 WL 320166, at *9 (S.D. Ohio

20   Jan. 28, 2011) (internal citation and quotation omitted).

21         11.         The Sixth Amendment right to counsel, as well as the due process

22

23         116   Id.
                                                    58
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 59 of 64




1    clause, demands that if circumstances arise immediately prior to, or during, a

2    prisoner’s execution that present constitutional concerns, the prisoner has the

3    means—through counsel—to petition the courts for appropriate relief. Cooey, 2011

4    WL 320166, at *10 (“If Floyds cannot communicate with counsel [on the day of

5    execution], then this Court can hardly conclude as a matter of law that Floyds have

6    adequate, effective, and meaningful access to the courts.”). Condemned prisoners

7    are thus constitutionally entitled to in-person visitation with their attorneys at this

8    critical time. See also Ching, 895 F.2d at 610 (holding that a prisoner must be

9    permitted attorney visitation absent justification from prison); Johnson by Johnson

10   v. Brelje, 701 F.2d 1201, 1207–08 (7th Cir. 1983) (prison’s restrictive telephone

11   policy unconstitutional); Mann v. Reynolds, 46 F.3d 1055, 1061 (10th Cir. 1995);

12   Cooey, 2011 WL 320166, at *9 (execution protocol that limited attorney contact on

13   the morning of an execution was unconstitutional).

14         12.    The Supreme Court has made clear that the right of access to courts

15   under the First Amendment is implicated where the state “hinder[s]” a prisoner’s

16   “efforts to pursue a legal claim.” Casey v. Lewis, 518 U.S. 343, 351 (1996); see also

17   First Amendment Coalition of Arizona, Inc. v. Ryan, 938 F.3d 1069, 1083 (9th Cir.

18   2019) (Berzon, J., concurring in part and dissenting in part). In her partial

19   concurrence in First Amendment Coalition of Arizona, Inc., Judge Berzon observed

20   that execution procedures depriving a condemned inmate of “the opportunity to be

21   heard at a meaningful time and in a meaningful manner” would constitute a

22   procedural due process violation. 938 F.3d at 1085 (citing Mathews v. Eldridge, 424

23
                                               59
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 60 of 64




1    U.S. 319, 333 (1976)). Judge Berzon added that execution procedures that render

2    inmates unable to litigate meaningfully their liberty interest in avoiding an

3    unconstitutionally painful execution would be sufficient to violate procedural due

4    process. Id. (citing Serrano v. Francis, 345 F.3d 1071, 1078 (9th Cir. 2003)).

5           13.   Nevada’s execution protocol denies or places impermissible restrictions

6    on Floyd’s right—particularly on the day of, and at the time of, his execution--to

7    confidential communication with his counsel, and impermissibly restricts his

8    counsel’s ability to access the courts (thereby denying Floyd’s right to access the

9    courts and/or his right to petition the applicable authorities to seek redress of his

10   grievances), in violation of Floyd’s rights under the First, Sixth, Eighth and

11   Fourteenth Amendments to the United States Constitution.

12   ///

13   ///

14

15

16

17

18

19

20

21

22

23
                                               60
           Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 61 of 64




1                                   VIII. PRAYER FOR RELIEF

2           WHEREFORE, Floyd requests the following relief:

3           1.        That this Court assume jurisdiction of this cause and set this case for a

4    hearing on the merits.

5           2.        That this Court issue a declaratory judgment declaring and enforcing

6    Floyd’s rights under the Eighth Amendment and, further, issue a temporary

7    restraining order or a preliminary or permanent injunction commanding

8    Defendants not to carry out any lethal injection on Floyd until such time as

9    Defendants take the reasonable and necessary steps to devise a new procedure or

10   procedures to carry out a lawful execution and produce a new execution protocol,

11   with reasonable and necessary adjustments made, so that Floyd may be executed in

12   a constitutional manner.

13          3.        That this Court issue a declaratory judgment declaring and enforcing

14   the rights of Floyd, as alleged above, and further issue a temporary restraining

15   order or preliminary or permanent injunction to enforce Floyd’s rights under the

16   Sixth, Eighth and Fourteenth Amendments, commanding defendants to permit

17   Floyd access to his counsel and to the courts on the day of his execution, including

18   during the final hours and moments leading up to the execution, and to permit

19   Floyd the right to the presence of his counsel to witness and observe the execution

20   of his client.

21          4.        Floyd also seeks this Court’s order under 42 U.S.C. § 1988 awarding

22   him a reasonable attorneys’ fee and costs, and such further relief as this Court

23   deems just and proper.
                                                  61
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 62 of 64




1
              WHEREFORE, Floyd prays this Court for its order and judgment as stated
2
     above.
3
              DATED this 16th day of April, 2021.
4
                                                    Respectfully submitted
                                                    RENE L. VALLADARES
5
                                                    Federal Public Defender
6                                                   /s/ David Anthony
                                                    DAVID ANTHONY
7                                                   Assistant Federal Public Defender
8
                                                    /s/Brad D. Levenson
9                                                   BRAD D. LEVENSON
                                                    Assistant Federal Public Defender
10

11                                                  /s/ Timothy R. Payne
                                                    TIMOTHY R. PAYNE
12                                                  Assistant Federal Public Defender

13

14

15

16

17

18

19

20

21

22

23
                                               62
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 63 of 64




1                   DECLARATION UNDER PENALTY OF PERJURY

2          I declare under penalty of perjury under the laws of the United States of

3    America and the State of Nevada that the facts alleged in this petition are true and

4    correct to the best of counsel's knowledge, information, and belief.

5          DATED this 16th day of April, 2021.

6

7          /s/ David Anthony                        /s/ Brad D. Levenson
           DAVID ANTHONY                            BRAD D. LEVENSON
8          Assistant Federal Public Defender        Assistant Federal Public Defender

9

10                                                  /s/ Timothy R. Payne
                                                    TIMOTHY R. PAYNE
11                                                  Assistant Federal Public Defender

12

13

14

15

16

17

18

19

20

21

22

23
                                               63
          Case 3:21-cv-00176-RFB-CLB Document 2 Filed 04/16/21 Page 64 of 64




1                               CERTIFICATE OF SERVICE

2          In accordance with LR IC 4-1(c) of the Local Rules of Practice, the

3    undersigned hereby certifies that on the 16th day of April, 2021, a true and correct

4    copy of the foregoing FLOYD’S COMPLAINT FOR INJUNCTIVE AND

5    DECLARATORY RELIEF DUE TO PROPOSED METHOD OF EXECUTION

6    PURSUANT TO 42 U.S.C. § 1983 was filed electronically with the CM/ECF

7    electronic filing system and sent via email, addressed to counsel as follows:

8    D. Randall Gilmer
     Chief Deputy Attorney General
9    Office of the Nevada Attorney General
     Public Safety Division
10   555 E. Washington Avenue, Suite 3900
     Las Vegas, NV 89101
11   Phone: 702.486.3427
     Fax: 702.486.3773
12   drgilmer@ag.nv.gov

13
                                                    /s/ Sara Jelinek
14                                                  An Employee of the Federal Public
                                                    Defenders Office, District of Nevada
15

16

17

18

19

20

21

22

23
                                               64
